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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                                     EXHIBIT 36
                           DECLARATION OF ALBERT MELCHER
                                 (Case No. 17-cv-1679-WJM-MEH)

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  Meeting Notes --- FHWA Colorado Division
  Sept 1, 2015; 10:30 AM

  Purpose: of the meeting was to allow the Sierra Club representatives to present and
  discuss their concerns and those of The Club regarding the lack of any consideration in
  the SDEIS of public health impacts associated with community exposure to air
  pollutants emitted from the I-70 East project, and the need to fully explore those impacts
  and to address Environmental Justice (EJ) implications of the project.

  Greeted by John Cater, who introduced FHWA staff:
  Chris Horn, Project engineer; Mystery Bridger, Division legal counsel;

  Cater stated that FHWA normally did not meet while EIS being prepared, but wanted to
  hear what we had to say. “We’re not here to discuss anything. Just here to listen.”

  Sierra Club’s presentation opened by Becky English who requested meeting. Introduced
  Bert, as a former Colo Highway Commission member, JD MacFarlan, former Colo AG,
  and Bob Yuhnke, former senior attorney at EDF who helped write parts of the CAA, and
  is working with the Club on the I-70 Project.

  Yuhnke, who is a leading national expert on air pollution, health effects and
  environmental and pollution control laws, explained that Club and neighborhood groups
  especially concerned about health impacts of increased exposure to air pollutants
  because community health status reported by Denver Health shows especially high
  incidence of diseases of air pollution among residents of neighborhoods along I-70.
  Yuhnke recounted meeting that Club had with Sheilen Bhatt, Director of CDOT in July.
  He reported that Bhatt did not seem to be taking the health issue seriously, and told
  Club representatives that we should meet with feds if we were concerned about
  Environmental Justice issues. So we requested this meeting to ask feds to assert their
  oversight role to assure that health impacts of the project were taken seriously, and that
  the I-270 alternative be given full consideration as a way to remove pollution from the
  neighborhoods where residents are dying prematurely.

   Mr. Yuhnke explained that the diseases disproportionately affecting the neighborhoods
  along I-70--ardiovascular disease and asthma -- are the diseases that EPA found to be
  causally linked to PM pollution in the Integrated Science Assessment prepared for
  EPA’s last review of the PM NAAQS.

  Cater responded that those diseases have other causes too.

  Yuhnke replied that the other causes would be present in other Denver neighborhoods,
  but the incidence of these diseases is much higher in the neighborhoods along the
  interstates.

  Yuhnke said we wanted to meet to share new studies since the comment period closed
  that help focus the causal relationship on highway pollution. He presented copies of
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  three national studies relevant to the Sierra Club concerns on EJ and health impacts.
  These are:
      (1) Press Release February 25, 2015 By California Office of Environmental Health
          Hazard Assessment; Subject; “Study finds long-term exposure to ultrafine
          particle air pollution associated with death from heart disease.”
      (2) Article published by “Environmental Health Perspectives” of the National Health
          Institute of Environmental Health Sciences; titled “Near-Roadway Air Pollution
          and Coronary Heart Disease: Burden of Disease and Potential Impact of a
          Greenhouse Reduction Strategy in Southern California,” published 7 July 2015.
      (3) Article from International Journal of Environmental Research and Public Health
          titled “Trends of Non-Accidental, Cardiovascular, Stroke and Lung Cancer
          Mortality in Arkansas Associated with Ambient PM2.5 Reductions” published by
          the University of Arkansas for Medical Sciences, 21 July 2014.

  Mr. Yuhnke discussed the implications of these studies for public health in the
  Globeville-Swansea-Elyria neighborhood affected by the I-70 East project. He
  emphasized that the severe adverse effects from air pollution are associated with
  cumulative impact of exposure to multiple pollutants emitted from highways; not just
  PM, or NO2 from highway. He mentioned that EPA highlighted the health risks of these
  pollutants emitted form highways in its last review of the national standards, but
  neighborhoods near highways are exposed to all the highway pollutants. We came to
  ask that FHWA carefully investigate these health impacts to explore how the community
  could be protected from the excess deaths that were occurring.

  MacFarlan offered his opinion that the law required this kind of investigation to
  determine the effects that are occurring from exposure to existing pollution, and to
  consider alternatives that could protect local residents. He warned that FHWA was
  taking on a high litigation risk if they did not.

  My subject was focused on the Civil Rights issues of adverse impacts on a minority and
  low-income community that will suffer disproportionate impacts on a range of effects.

  I presented Cater with an excerpted version of a very important and relevant US
  Department of Transportation Secretarial Order from Federico Pena issued in 1997 and
  to which I and others referred in various meetings and public workshops in the first
  years of the I-70 CAC. (This Order has been re-issued in more recent years, especially
  in 2012 as U.S. Department of Transportation Order 56102(a). The 1997 document is
  US Department of Transportation Order on Environmental Justice, Federal Register
  April 15, 1997, signed by Federico F. Pena, Secretary of Transportation.

  The excerpted version appended hereto has my highlights on the items that I briefly
  noted in my discussion and that I emphasized as relevant.
  These are:
     (1) disproportionate impacts are to be avoided if practicable;
     (2) the affected public is to be informed of impacts;
     (3) discrimination impacts are to be identified and avoided;
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     (4) alternatives to avoid or minimize impacts are to be considered;
     (5) proposals shall be carried out only if mitigation measures or alternatives are not
         practicable;
     (6) adverse effects include bodily impairment, illness, death, community cohesion,
         and economic vitality.

  I also mentioned that the impacts from the highway needed to be considered together
  with community exposure to a variety of sources, especially the existing I-25 with its
  heavy severe diesel truck traffic, and cumulative heath impacts from air, contaminated
  soil dust and related sources of impacts such as regional ozone levels. The Sierra Club
  nationally and in this situation has worked diligently to reduce adverse public health
  conditions and is greatly concerned here. There are feasible alternatives which can
  alleviate the situation, including re-routing interstate onto I-270, or removing diesel
  trucks from segment between Washington and Colorado Blvds.

  I briefly mentioned the high attention that had been devoted to the EJ and health
  impacts, especially of air pollution, in the CAC and public meetings of the early years of
  the Draft EIS process. I stated that these policies had been given only pro forma
  attention by CDOT and there were not sincere efforts to meet the intent of this EJ
  guidance and EJ in general.

  Mr. Cater responded and stated that he would have additional EJ documents sent to
  me.

   Also appended is the email sent by him later September 1 and my draft response to his
  email which I sent soon thereafter; the final would not have had any significant changes
  from my draft.

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  Appended Documents:
     (1) Excepts with highlights by Melcher of 1997 US Department of Transportation
         Order on Environmental Justice, Federal Register April 15, 1997, signed by
         Federico F. Pena, Secretary of Transportation, as presented to FHWA
         September 1, 2015
     (2) Email from John Cater, FHWA, September 1, 2015
     (3) Email from Mystery Bridger, FWHA, September 1, 2015
     (4) Draft response by A. Melcher to Mr. Cater’s email.
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